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                               UNITED STATES DISTRICT COURT FOR THE
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )       CR. No. S 00-0161 MCE
                                                   )
12                          Plaintiff,             )       UNOPPOSED MOTION FOR ORDER
                                                   )       EXTENDING TIME FOR
13                  V.                             )       DEFENDANT’S SELF SURRENDER;
                                                   )       PROPOSED ORDER
14                                                 )
     ALFREDO TOBAR, JR.,                           )
15                                                 )
                            Defendants.            )
16                                                 )
17          The United States hereby requests that the defendant’s date of self-surrender to commence
18   serving his sentence from August 2, 2005, until noon on October 4, 2005. The reason for the request
19   is that government counsel has been informed by Contra Costa County Deputy District Attorney
20   Patrick Vanier that defendant Tobar is needed for a state court trial which is scheduled to commence
21   in mid-September and should be finished before the end of the month. That trial had previously been
22   scheduled for this month (July) but has been continued. I have contacted the U.S. Bureau of Prisons
23   about the feasibility of brining the defendant back for the trial and have been informed that the
24   difficulties and costs involved in bringing the defendant back and forth from his designated institution
25   in-custody to attend the state court proceedings, are substantial and costly. Given the relatively short
26   sentence received by the defendant, it is preferable to simply continue his self-surrender date rather
27   than to attempted to move him back and forth from state custody.
28   //
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 1          I have contacted the attorney for defendant Tobar, Timothy Zindel, Esq., and neither he nor
 2   his client has an objection to the government’s request.
 3
 4   DATED: July 29, 2005
 5                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 6
 7                                                    By:              /s/
                                                            RICHARD J. BENDER
 8                                                          Assistant U.S. Attorney
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10
                                                   ORDER
11
12   It is so ORDERED, this 29th day of July, 2005.
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                                                     ___________________________________
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                                                     MORRISON C. ENGLAND, JR
16                                                   UNITED STATES DISTRICT JUDGE

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